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                                                                 FILED
                                                          U.S. DISTRICT CUUT
            IN THE UNITED STATES DISTRICT COURT FOR
               THE SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION            2O3 MAR -6 ti '111C: '

UNITED STATES OF AMERICA
                                                             SO. 01ST. OF C..   4D
V.                                    CASE NO. CR412-004

LORI ANGELA JONES,

     Defendant.


                             ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 173), to which neither party objects.

Both the Government and Defendant have stipulated to the

psychiatric report's findings. (Doc. 172.) After a

careful de novo review of the record, the Court concurs

with the report and recommendation. Accordingly, the

report and recommendation is ADOPTED as the Court's opinion

in this case and Defendant is found competent to stand

trial pursuant to 18 U.S.C. § 4241.
                       0
     SO ORDERED this        day of March 2013.




                                  WILLIAM T. MOORE, JR.V
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
